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              ORAL ARGUMENT NOT YET SCHEDULED

                 UNITED STATES COURT OF APPEALS
                  DISTRICT OF COLUMBIA CIRCUIT
____________________________________
                                     )
STATE OF CALIFORNIA, et al.,         )
                                     )
          Petitioners,               )
                                     )
v.                                   )     No. 21-1014
                                     )     (lead)
UNITED STATES ENVIRONMENTAL          )
PROTECTION AGENCY, et al.,           )
                                     )
          Respondents.               )
____________________________________)
                                     )
AMERICAN LUNG ASSOCIATION, et al., )
                                     )
          Petitioners,               )
                                     )
v.                                   )     No. 21-1027
                                     )     (consolidated)
UNITED STATES ENVIRONMENTAL          )
PROTECTION AGENCY, et al.,           )
                                     )
          Respondents.               )
____________________________________)
                                     )
CENTER FOR BIOLOGICAL                )
DIVERSITY,                           )
                                     )
          Petitioner,                )
                                     )
v.                                   )     No. 21-1054
                                     )     (consolidated)
UNITED STATES ENVIRONMENTAL          )
PROTECTION AGENCY, et al.,           )
                                     )
          Respondents.               )
____________________________________)
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        MOTION TO CONTINUE TO HOLD CASES IN ABEYANCE

      Petitioners in these consolidated cases seek judicial review of an action titled

“Review of the National Ambient Air Quality Standards for Particulate Matter,” 85

Fed. Reg. 82,684 (Dec. 18, 2020) (“Particulate Matter NAAQS Decision”). In

2021, Respondents United States Environmental Protection Agency, et al. (“EPA”)

indicated its intention to reconsider the Particulate Matter NAAQS Decision. EPA

moved to hold these cases in abeyance pending that reconsideration, and the Court

granted that motion and placed the cases in abeyance until March 1, 2023. EPA has

sought extensions of that abeyance to allow it to finish its reconsideration, most

recently to January 2, 2024. See Order dated November 3, 2023 (Doc. 2025313).

EPA now requests that the Court extend that abeyance by four weeks to January

30, 2024, allow it to finalize its reconsideration of the Particular Matter NAAQS

Decision.

      Counsel for EPA has conferred with counsel for Petitioners and movant-

intervenors. Counsel for Petitioners State of California et al., Case No. 21-1014,

and Intervenors National Manufacturing Association et al. authorized EPA to

report that they reserve their right to file a response to EPA’s motion. Counsel for

Respondent-Intervenors has authorized EPA to report that they do not oppose

EPA’s requested extension.




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      As reported in EPA’s prior status reports, EPA has requested and received

public comment, held public meetings, and received advice from the Clean Air

Scientific Advisory Committee (“CASAC”) regarding revised scientific and policy

assessments relevant to its Particular Matter NAAQS Decision. See September 14,

2023 Status Report (Doc. 1978014). On January 27, 2023, EPA published in the

Federal Register a notice of its proposed action reconsidering the Particulate

Matter NAAQS Decision, entitled “Reconsideration of the National Ambient Air

Quality Standards for Particulate Matter,” 88 Fed. Reg. 5,558 (Jan. 27, 2023). EPA

opened a public comment period on the proposal that closed March 28, 2023. EPA

has reviewed those comments and has drafted the final rule, which is presently

being reviewed by the Office of Management and Budget. See October 31, 2023

Unopposed Motion to Continue to Hold Cases in Abeyance (Doc. 2024686).

      Since EPA’s October 31, 2023 motion, the draft final rule has continued to

undergo inter-agency review. EPA had expected that that review process would

conclude and the rule would be signed by the end of 2023. Currently, however,

EPA expects that the rule will be finalized and ready for signature by the end of

January 2024. After signature, it will be published in the Federal Register, which

could take several weeks.

      Given the ongoing proceedings, EPA respectfully moves that the Court

extend the current abeyance until January 30, 2024, to allow EPA to bring the

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reconsideration to a close. There is good cause to extend the abeyance. Courts may

defer judicial review of a final rule pending completion of reconsideration

proceedings, see Am. Petroleum Inst. v. EPA, 683 F.3d 382 (D.C. Cir. 2012)

(“API”), and have done so for Clean Air Act rules like the one at issue here, see,

e.g., Sierra club v. EPA, 551 F.3d 1019, 1023 (D.C. Cir. 2008). Here, EPA has

now published its proposed reconsideration decision and is in the final stages of

review necessary to finalize a new action. Petitioners’ claims may ultimately be

rendered moot by EPA’s reconsideration. Extending the abeyance would thus save

both judicial and party resources by avoiding litigation that may soon be

preempted. See API, 683 F.3d at 388. Furthermore, extending the abeyance also

will not unduly prejudice any party, as all parties consent to EPA’s requested

extension.

      Accordingly, for these reasons, and good cause shown, EPA respectfully

requests that the Court order extend the abeyance by four weeks, until January 30,

2024. Once final action is taken or before expiration of the extended abeyance

period, EPA expects that the parties will confer and submit proposals to govern

any further proceedings to the Court.

                                               Respectfully submitted,




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     Dated: January 2, 2024             /s/ Sarah A. Buckley
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                                        al.




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 27(d), I hereby certify that

the foregoing complies with the type-volume limitation because it contains 644

words, according to the count of Microsoft Word.




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                             CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(c), that the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system, which

will send a notification to the attorneys of record in this matter, who are registered

with the Court’s CM/ECF system.



                                                /s/ Sarah A. Buckley
                                                SARAH A. BUCKLEY




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